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                    13   INC.
                    14
                                                   UNITED STATES DISTRICT COURT
                    15
                                             NORTHERN DISTRICT OF CALIFORNIA
                    16   ELSON MARCELO, PETR BOGOPOLSKIY,      Case No. 3:21-CV-07843-JD
                         JASON SALES, ASHLEY ELLIS, DAVID
                    17   SIMARD, THIEN LUONG, RHONDA           DEFENDANTS’ STATEMENT OF
                         FELIX, STEPHANIE FRIEDMAN,            RECENT DECISION IN SUPPORT OF
                    18   WORKINEH WOLIE, ABDUL REHMAN,         THEIR MOTION TO STAY PENDING
                         DAVID SAMRA, MOHAMMED SHAIKH,         THE SUPREME COURT’S DECISION
                    19   SALEH ALBADWI, TANESHA                IN SOUTHWEST AIRLINES CO. V.
                         CALDWELL, STARR CAMPBELL, and         SAXON
                    20   SERGIO GARNICA,
                    21                      Plaintiffs,              Hearing Date: February 24, 2022
                                                                     Time:         10 a.m.
                    22   v.                                          Courtroom: 11, 19th Floor
                    23   AMAZON.COM, INC., and AMAZON
                         LOGISTICS, INC.,
                    24
                                            Defendants.
                    25

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MORGAN, LEWIS &
                    28
 BOCKIUS LLP                                                     1                AMAZON’S STATEMENT OF
 ATTORNEYS AT LAW
   LOS ANGELES
                                                                                        RECENT DECISION
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                     1            Pursuant to Local Civil 7-3(d)(2), and in support of their Motion to Stay, Defendants

                     2   Amazon.com, Inc. and Amazon Logistics, Inc., write to inform the Court that, on January 7,

                     3   2022, Judge Coughenour granted Amazon’s motion to continue the stay in Rittmann v.

                     4   Amazon.com, Inc., No. 2:16-cv-01554-JCC (W.D. Wash.), “pending the Supreme Court’s final

                     5   decisions in Southwest Airlines Co. v. Saxon, No. 21-309.” The order continuing the stay is

                     6   attached as Exhibit A.

                     7
                                                                            MORGAN, LEWIS & BOCKIUS LLP
                     8   Dated: January 7, 2022
                     9
                                                                            By       /s/ Brian D. Berry
                    10                                                           Max Fischer
                                                                                 Brian D. Berry
                    11                                                           Brian D. Fahy
                                                                                 Miranda M. Rowley
                    12
                                                                                 Attorneys for Defendants
                    13                                                           AMAZON.COM INC and
                                                                                 AMAZON LOGISTICS, INC.
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MORGAN, LEWIS &
                                                                        2                 AMAZON’S STATEMENT OF
 BOCKIUS LLP                                                                                    RECENT DECISION
 ATTORNEYS AT LAW
   LOS ANGELES
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         EXHIBIT A
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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   BERNADEAN RITTMANN, et al.,                             CASE NO. C16-1554-JCC
10                              Plaintiffs,                  ORDER
11          v.

12   AMAZON.COM, INC., et al.,

13                              Defendants.
14

15          This matter comes before the Court on Plaintiff Iain Mack’s motion to lift the stay and for
16   partial summary judgment (Dkt. No. 165), Defendants’ cross motion to extend the stay and to
17   strike Plaintiff’s motion for partial summary judgment (Dkt. No. 170), and Defendants’ separate
18   motion to continue the stay pending United States Supreme Court rulings (Dkt. No. 186). Having
19   thoroughly considered the parties’ briefing and the relevant record, the Court finds oral argument
20   unnecessary and hereby DENIES Plaintiff’s motion, GRANTS in part and DENIES in part as
21   moot Defendants’ cross motion, and GRANTS Defendants’ motion to continue the stay for the
22   reasons explained below.
23   I.     BACKGROUND
24          The facts of this case have been outlined in a prior order, and the Court will not repeat
25   them here. (See Dkt. No. 115.) In 2019, the Court granted Defendants’ motion to continue the
26   stay on this case, pending a decision by the Ninth Circuit. (Dkt. No. 133.) In January 2021, the


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 1   parties filed a Joint Status Report (Dkt. No. 162). In the report, the parties proposed extending

 2   the stay pending the United States Supreme Court’s consideration of Defendants’ petition for

 3   certiorari regarding the Ninth Circuit’s decision affirming this Court’s denial of Defendants’

 4   motion to compel arbitration. (See Dkt. No. 162 at 2.) The Supreme Court subsequently denied

 5   the petition for certiorari.1

 6            Following denial of certiorari, Plaintiff Mack moved to lift the stay, and for partial

 7   summary judgment. (See Dkt. No. 165.) In response, Defendants cross-moved to extend the stay,

 8   pending a decision in an arguably similar case,2 to strike Plaintiff Mack’s motion for partial

 9   summary judgment, and for a telephonic hearing pursuant to Local Civil Rule 7(i). (See Dkt. No.

10   170.) Before the Court rendered a decision on those motions, Defendants separately moved to

11   continue the stay in this case pending the outcome of two other arguably similar Supreme Court

12   cases. (See Dkt. No. 186.)

13   II.      DISCUSSION

14         A. Continuation of Stay

15            A district court “has broad discretion to stay proceedings as an incident to its power to

16   control its own docket.” Clinton v. Jones, 520 U.S. 681, 706–07 (1997) (citing Landis v. N. Am.

17   Co., 299 U.S. 248, 254 (1936)); see Lockyer v. Mirant Corp., 398 F.3d 1098, 1109 (9th Cir.

18   2005). “The power to stay proceedings is incidental to the power inherent in every court to
19   control the disposition of the causes on its docket with economy of time and effort for itself, for

20   counsel, and for litigants.” Landis, 299 U.S. at 254. Courts often consider the following factors

21   when determining whether a stay pending appeal is appropriate: (1) whether the movant has

22   made a strong showing of its likelihood of success on appeal; (2) whether the movant will be

23
     1
      See Dkt. No. 164 at 2 (citing Rittmann v. Amazon.com, Inc., 383 F. Supp. 3d 1196 (W.D. Wash.
24
     2019), aff’d, 971 F.3d 904 (9th Cir. 2020), cert. denied, 141 S. Ct. 1374 (2021)).
25   2
       The Supreme Court ultimately denied certiorari in that case. See Waithaka v. Amazon.com,
     Inc., 966 F.3d 10 (1st Cir. 2020), cert. denied, 141 S. Ct. 2794 (2021), reh’g denied, 141 S. Ct.
26   2886 (2021).

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 1   irreparably injured absent a stay; (3) whether issuance of a stay will substantially injure the non-

 2   movant’s interests; and (4) whether public interest favors a stay. Hilton v. Braunskill, 481 U.S.

 3   770, 776 (1987). The Court will apply those factors to the instant motions.

 4            Plaintiff Mack moved to lift the stay here following the Supreme Court’s denial of

 5   certiorari in this case. (Dkt. No. 165; see Dkt. No. 164.) While the Court agrees that the stay is

 6   no longer warranted on these grounds, Defendants seek to continue the stay pending the outcome

 7   of two arguably similar cases before the Supreme Court: Sw. Airlines Co. v. Saxon, 993 F.3d 492

 8   (7th Cir. 2021), cert. granted, No. 21-309, 2021 WL 5858631 (2021), and Moriana v. Viking

 9   River Cruises, Inc., 2020 WL 5584508 (Cal. App. 2d Dist. 2020), cert. granted, 20-1573, 2021

10   WL 5911481 (2021).3 (See Dkt. No. 186.) They argue that a decision in those cases will inform

11   the Court’s decision here. Thus, the Court must consider whether the Braunskill factors weigh in

12   favor of a stay pending the outcome of these cases.

13            The Court previously stayed this case because, absent a stay, Defendants could have been

14   forced to litigate hundreds of claims and lose the right to arbitration as to all Plaintiffs in this

15   lawsuit, even if the Ninth Circuit ultimately reversed this Court’s ruling denying Defendants’

16   motion to compel. (See Dkt. No. 133.) While the Ninth Circuit did ultimately affirm this Court’s

17   ruling,4 Defendants submit that the Supreme Court’s recent decision to grant certiorari to

18   address a circuit split on an analogous interpretation of the same Federal Arbitration Act
19   (“FAA”) exemption could equally impact the parties in this case. (See Dkt. No. 186 at 7.)

20            The FAA exemption case referenced by Defendants concerns whether an airline

21   employee working as a ramp agent supervisor, unloading goods from vehicles that travel in

22   interstate commerce, is a “transportation worker” for the purposes of the FAA exemption. See

23   3
      Defendants’ prior motion to extend the stay pending the outcome of Amazon’s petition in
24   Waithaka (Dkt. No. 170) is DENIED as moot, as the Supreme Court denied the petition. See
     Waithaka, 966 F.3d 10 (1st Cir. 2020), cert. denied, 141 S. Ct. 2794 (2021), reh’g denied, 141 S.
25   Ct. 2886 (2021). Defendants’ motion for a telephonic hearing is also DENIED as moot. See infra
     Section II(B).
26
     4
         See Rittmann, 383 F. Supp. 3d at 1202–03, aff’d, 971 F.3d 904, 915 (9th Cir. 2020).

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 1   Saxon, 993 F.3d at 492 (7th Cir. 2021), cert. granted, No. 21-309, 2021 WL 5858631 (2021).

 2   Thus, Defendants assert there is a reasonable chance that the Supreme Court will agree with its

 3   contention that the exemption covers only classes of workers who physically cross state lines in

 4   the course of their work. Plaintiffs disagree. They argue Saxon is about whether a cargo loader,

 5   not a last-mile delivery driver, is a “transportation worker. ” (See Dkt. No. 191 at 6–8.)

 6   Therefore, it has no bearing on the instant case. (Id.) But even if this were true, this factual

 7   distinction does not foreclose the possibility of a more expansive opinion coming from the

 8   Supreme Court.

 9          Defendants also rely on Moriana in arguing to continue the stay in this case. (Dkt No.

10   186 at 8.) In that case, which the Supreme Court recently granted certiorari to decide whether

11   the FAA requires enforcement of a bilateral arbitration agreement providing that an employee

12   cannot raise representative claims, including under [the California Private Attorneys General Act

13   (“PAGA”)].” See Petition for Writ of Certiorari at i, Viking River Cruises, Inc. v. Moriana,

14   (2021) (No. 20-1573) 2021 WL 5911481, at *i. As a result, Moriana’s outcome, depending on

15   the breadth of the Saxon decision, could render Plaintiff Mack’s PAGA claim in a consolidated

16   case, see Iain Mack, et al., v. Amazon.com, et al., Case No. C17-1438-JCC, Dkt. No. 19 (W.D.

17   Wash. 2017), arbitrable. Plaintiffs argue that Moriana will have no impact because Mack is an

18   exempt transportation worker and thus not bound to arbitrate. But this of course could change if
19   Saxon impacts the scope of the “transportation workers” classification. (Dkt. No. 191 at 14.)

20          For the same reasons the Braunskill factors warranted a stay pending the Ninth Circuit

21   decision on Defendants’ motion to compel arbitration, a stay is now warranted pending the

22   Supreme Court’s decision in Saxon. Moriana only further supports a stay. With regard to the first

23   Braunskill factor, the enforceability issue in Moriana is novel. With regard to the second factor,

24   if the stay is lifted, Defendants could potentially lose a right to arbitrate any PAGA claims as to

25   all Plaintiffs in this case. Regarding the third factor, while the Court is sympathetic to Plaintiffs’

26   concerns regarding continued delay in this case, the sheer volume of potential claims stemming


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 1   from a decision in this case warrants awaiting the outcome of Supreme Court review in Saxon

 2   and Moriana. As noted in the Court’s previous order granting a stay, the issues central to this

 3   case bely the availability of arbitration to Plaintiffs should they seek immediate redress. Finally,

 4   the fourth factor does not weigh heavily for or against a stay. The public interest in expeditiously

 5   disposing of this case is offset by the novelty of the question of law and the public interest in

 6   conserving judicial resources.

 7          Accordingly, the Court finds that continuing the stay is now warranted pending the

 8   Supreme Court’s final decisions in Southwest Airlines Co. v. Saxon, No. 21-309, and Viking

 9   River Cruises v. Moriana, No. 20-1573.

10      B. Partial Summary Judgment

11          Federal Rule of Civil Procedure 56(b) provides that unless a different time is set by local

12   rule or the court orders otherwise, a party may file a motion for summary judgment at any time

13   until 30 days after the close of all discovery. “Although [Federal Rule of Civil Procedure 56]

14   allows a motion for summary judgment to be filed at the commencement of an action, in many

15   cases the motion will be premature until the nonmovant has had time to file a responsive

16   pleading or other pretrial proceedings have been had.” Fed. R. Civ. P. 56, Advisory Committee's

17   Notes (2010 Amendments, Note to Subdivision (b)).

18          Following Plaintiff Mack’s motion for partial summary judgment (Dkt. No. 165), certain
19   Plaintiffs filed a third amended complaint (Dkt. No. 188). Thus, the pleadings were not yet set at

20   the time of Plaintiff Mack’s motion. Further, as a result of the stay and new pleadings,

21   Defendants have not filed an operative answer, the Court has not yet issued a discovery and

22   scheduling order, and discovery has not yet begun. See In re Microsoft Partner Program Litig.,

23   WL 1348390, slip. op. at 2 (W.D. Wash. 2006) (finding that it would be premature to consider a

24   request for summary judgment before discovery had been conducted). Moreover, Defendants

25   indicate they will likely file their own motion for summary judgment on the same issue raised by

26   Plaintiff Mack once discovery concludes, depending on the outcome of the discovery process.


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 1   (Dkt. No. 175 at 9.)

 2          Therefore, the Court finds that Plaintiff Mack’s motion (Dkt. No. 165) was premature.

 3   The motion is DENIED without prejudice to refiling at the appropriate stage of this litigation.

 4   III.   CONCLUSION

 5          For the foregoing reasons, Plaintiff Mack’s motion (Dkt. No. 165) is DENIED in its

 6   entirety, Defendants’ cross-motion (Dkt. No. 170) is GRANTED in part and DENIED as moot in

 7   part, and Defendants’ motion to continue the stay pending the Supreme Court’s final decisions in

 8   Southwest Airlines Co. v. Saxon, No. 21-309, and Viking River Cruises v. Moriana, No. 20-1573.

 9   (Dkt. No. 186) is GRANTED.

10          DATED this 7th day of January 2022.




                                                          A
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13
                                                          John C. Coughenour
14                                                        UNITED STATES DISTRICT JUDGE
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